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                     APPENDIX D
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                       PJT PARTNERS INC.
              SUMMARY OF HOURS FOR THE PERIOD OF
           SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
  Professional                    Title                         Hours

Michael Genereux                  Partner                             72.0

  Jamie Baird                    Partner                          135.0

Joshua Abramson               Vice President                      160.5

Samuel Rappaport                 Analyst                          182.5
                                               Total              550.0
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                                                   PJT PARTNERS INC.
                                           HOURLY DETAILS FOR THE PERIOD OF
                                       SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional     Date        Hours                                                         Explanation

Michael Genereux   09/29/15      1.0       Prep for kickoff call with UCC
Michael Genereux   09/29/15      1.0       Kickoff call with UCC
Michael Genereux   09/30/15      1.0       Call with UCC counsel and preparation for the same
Michael Genereux   09/30/15      3.5       Strategy meeting with counsel
Michael Genereux   10/01/15      1.0       Review of first day motions
Michael Genereux   10/01/15      1.0       Call with UCC counsel and preparation for the same
Michael Genereux   10/01/15      1.0       Review case documents and analysis
Michael Genereux   10/02/15      1.0       Call with debtor advisors regarding sale process and preparation for the same
Michael Genereux   10/03/15      0.5       Reviewed and commented on financial analysis related to DIP/PSA
Michael Genereux   10/04/15      1.0       Reviewed and commented on draft of DIP / PSA objection
Michael Genereux   10/05/15      0.5       Reviewed financial analysis related to DIP/PSA
Michael Genereux   10/06/15      1.0       Reviewed draft of DIP / PSA objection
Michael Genereux   10/07/15      4.5       Meeting with counsel to discuss DIP/PSA objection
Michael Genereux   10/07/15      1.0       Reviewed Genereux declaration
Michael Genereux   10/08/15      2.0       Reviewed documents for Court Hearing
Michael Genereux   10/09/15      0.5       Reviewed analysis related to DIP provided by debtor advisors
Michael Genereux   10/10/15      1.0       Reviewed financial analysis related to Genereux declaration
Michael Genereux   10/11/15      1.0       Internal PJT team call
Michael Genereux   10/11/15      1.0       Reviewed Genereux declaration
Michael Genereux   10/11/15      1.5       Reviewed analysis related to Critical Vendor / Retention objection
Michael Genereux   10/12/15      4.0       Prepared for deposition
Michael Genereux   10/12/15      1.0       Call with counsel regarding Genereux declaration and preparation for the same
Michael Genereux   10/12/15      1.0       Reviewed Genereux declaration
Michael Genereux   10/13/15      3.5       Genereux deposition preparation with counsel
Michael Genereux   10/13/15      5.0       Genereux deposition
Michael Genereux   10/14/15      9.0       Attended second day hearings
Michael Genereux   10/15/15      8.0       Prepared for and attended second day hearings
Michael Genereux   10/16/15      1.0       Call with UCC and preparation for the same
Michael Genereux   10/19/15      1.0       Call with debtor advisors regarding sale process and preparation
Michael Genereux   10/19/15      0.5       Call with counsel to prepare for call with UCC
Michael Genereux   10/19/15      1.0       Call with UCC and preparation for the same
Michael Genereux   10/22/15      1.5       Reviewed materials from diligence meeting
Michael Genereux   10/22/15      0.5       Reviewed materials for UCC




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                                               PJT PARTNERS INC.
                                       HOURLY DETAILS FOR THE PERIOD OF
                                   SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional     Date        Hours                                                    Explanation

Michael Genereux   10/23/15      1.0    Reviewed materials for UCC
Michael Genereux   10/25/15      0.5    Reviewed materials for UCC
Michael Genereux   10/26/15      1.0    Reviewed materials for UCC
Michael Genereux   10/27/15      0.5    Reviewed materials for UCC
Michael Genereux   10/27/15      1.0    Call with debtors' and UCC's advisors
Michael Genereux   10/27/15      0.5    Call with counsel to prepare for call with UCC
Michael Genereux   10/27/15      1.0    Call with UCC and preparation for the same
Michael Genereux   10/28/15      1.0    Reviewed legal documents
Michael Genereux   10/30/15      1.5    Preparation and review of materials for UCC
Michael Genereux   10/30/15      1.0    Internal PJT team call
                                72.0




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                                                  PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
                                      SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional    Date        Hours                                                          Explanation

Jamie Baird       09/29/15      1.0       Prep for kickoff call with UCC
Jamie Baird       09/29/15      1.0       Kickoff call with UCC
Jamie Baird       09/30/15      1.0       Call with UCC counsel and preparation for the same
Jamie Baird       09/30/15      1.0       Reviewed initial diligence list to send to company
Jamie Baird       09/30/15      4.5       Prep for and strategy meeting with counsel
Jamie Baird       09/30/15      1.0       Review of prepared analyses
Jamie Baird       10/01/15      1.0       Review of first day motions
Jamie Baird       10/01/15      1.0       Reviewed and analyzed store closure analysis provided by Company advisors
Jamie Baird       10/01/15      0.5       Call with debtor advisors regarding store closures motion and preparation for the same
Jamie Baird       10/01/15      1.0       Call with UCC counsel and preparation for the same
Jamie Baird       10/01/15      2.0       Review case documents and analysis
Jamie Baird       10/02/15      1.0       Call with debtor advisors regarding sale process and preparation for the same
Jamie Baird       10/03/15      1.5       Reviewed and commented on financial analysis related to DIP/PSA
Jamie Baird       10/04/15      2.5       Reviewed and commented on draft of DIP / PSA objection
Jamie Baird       10/05/15      1.0       Call with debtor advisors regarding DIP budget and preparation for the same
Jamie Baird       10/05/15      1.0       Prepared and commented on presentation for UCC
Jamie Baird       10/05/15      0.5       Reviewed financial analysis related to DIP/PSA
Jamie Baird       10/06/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Jamie Baird       10/07/15      4.5       Meeting with counsel to discuss DIP/PSA objection
Jamie Baird       10/07/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Jamie Baird       10/07/15      1.5       Reviewed draft of DIP / PSA objection
Jamie Baird       10/07/15      0.5       Reviewed analysis for Genereux declaration
Jamie Baird       10/08/15      4.5       Attended Cooper Deposition
Jamie Baird       10/08/15      3.0       Attended Savini Deposition
Jamie Baird       10/08/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Jamie Baird       10/08/15      1.0       Call with debtor advisors regarding taxes and preparation for the same
Jamie Baird       10/10/15      1.0       Reviewed and commented on financial analysis related to Genereux declaration
Jamie Baird       10/11/15      1.0       Internal PJT team call
Jamie Baird       10/11/15      4.0       Reviewed and commented on financial analysis related to Genereux declaration
Jamie Baird       10/11/15      1.5       Reviewed analysis related to Critical Vendor / Retention objection
Jamie Baird       10/12/15      1.5       Dilgenced and reviewed financial analysis provided by debtors' advisors
Jamie Baird       10/12/15      2.0       Prepared for and attended deposition
Jamie Baird       10/12/15      1.0       Call with counsel regarding Genereux declaration and preparation for the same




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                                                  PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
                                      SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional    Date        Hours                                                         Explanation

Jamie Baird       10/12/15      5.0       Reviewed financial analysis
Jamie Baird       10/13/15      2.0       Genereux deposition preparation with counsel
Jamie Baird       10/13/15      8.0       Hearing preparation
Jamie Baird       10/14/15      9.0       Attended second day hearings
Jamie Baird       10/14/15      2.0       Strategy sessions with Committee advisors
Jamie Baird       10/14/15      1.0       Reviewed financial analysis
Jamie Baird       10/15/15      6.0       Prepared for and attended second day hearings
Jamie Baird       10/16/15      1.0       Call with UCC
Jamie Baird       10/17/15      3.0       Preparation for diligence trip to company headquarters
Jamie Baird       10/18/15      2.0       Performed diligence for sale process
Jamie Baird       10/19/15      1.0       Call with debtor advisors regarding sale process and preparation for the same
Jamie Baird       10/19/15      0.5       Call with counsel to prepare for call with UCC
Jamie Baird       10/19/15      1.0       Call with UCC and preparation for the same
Jamie Baird       10/19/15      1.0       Performed diligence for sale process
Jamie Baird       10/19/15      2.0       Reviewed and assisted with legal documents related to revised DIP / PSA orders
Jamie Baird       10/19/15      1.0       Preparation for diligence trip to company headquarters
Jamie Baird       10/20/15      3.0       Preparation for diligence trip to company headquarters
Jamie Baird       10/21/15      8.0       Full day diligence meeting at Company headquarters
Jamie Baird       10/22/15      3.0       Reviewed materials from diligence meeting and prepared follow up list
Jamie Baird       10/22/15      1.0       Call with debtors advisors regarding DIP budget + preparation
Jamie Baird       10/22/15      1.5       Reviewed materials for UCC
Jamie Baird       10/22/15      0.5       Call with Company management regarding critical vendors
Jamie Baird       10/23/15      2.0       Preparation of materials for UCC
Jamie Baird       10/23/15      1.0       Reviewed and commented on financial analysis
Jamie Baird       10/26/15      2.5       Review of materials for UCC
Jamie Baird       10/27/15      1.0       Review of materials for UCC
Jamie Baird       10/27/15      1.0       Call with debtors' and UCC's advisors
Jamie Baird       10/27/15      0.5       Call with counsel to prepare for call with UCC
Jamie Baird       10/27/15      1.0       Call with UCC and preparation for the same
Jamie Baird       10/28/15      0.5       Reviewed updated diligence list for debtors' advisors
Jamie Baird       10/28/15      2.0       Reviewed legal documents
Jamie Baird       10/28/15      4.0       Prepared for and attended hearing
Jamie Baird       10/29/15      1.0       Call with Company relating to Critical Vendors




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                                               PJT PARTNERS INC.
                                       HOURLY DETAILS FOR THE PERIOD OF
                                   SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional    Date        Hours                                              Explanation

Jamie Baird       10/30/15      2.5    Review of materials for UCC
Jamie Baird       10/30/15      1.0    Internal PJT team call
                               135.0




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                                                  PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
                                      SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional    Date        Hours                                                          Explanation

Joshua Abramson   09/29/15      1.0       Prep for kickoff call with UCC
Joshua Abramson   09/29/15      1.0       Kickoff call with UCC
Joshua Abramson   09/30/15      1.0       Call with UCC counsel and preparation for the same
Joshua Abramson   09/30/15      1.0       Prepared and reviewed initial diligence list to send to company
Joshua Abramson   09/30/15      4.5       Strategy meeting with counsel
Joshua Abramson   09/30/15      2.0       Review and prepared analysis
Joshua Abramson   10/01/15      2.0       Review of first day motions
Joshua Abramson   10/01/15      1.0       Reviewed and analyzed store closure analysis provided by Company advisors
Joshua Abramson   10/01/15      0.5       Call with debtor advisors regarding store closures motion and preparation for the same
Joshua Abramson   10/01/15      1.0       Call with UCC counsel and preparation for the same
Joshua Abramson   10/01/15      2.0       Review case documents and analysis
Joshua Abramson   10/02/15      1.0       Call with debtor advisors regarding sale process and preparation for the same
Joshua Abramson   10/03/15      1.5       Reviewed and commented on financial analysis related to DIP/PSA
Joshua Abramson   10/04/15      2.5       Reviewed and commented on draft of DIP / PSA objection
Joshua Abramson   10/05/15      1.0       Call with debtor advisors regarding DIP budget + preparation
Joshua Abramson   10/05/15      1.0       Prepared and commented on presentation for UCC
Joshua Abramson   10/05/15      0.5       Reviewed financial analysis related to DIP/PSA
Joshua Abramson   10/06/15      1.0       Call with debtor advisors regarding critical vendors + preparation
Joshua Abramson   10/06/15      1.0       Prepared and reviewed financial analysis
Joshua Abramson   10/06/15      1.5       Reviewed draft of DIP / PSA objection
Joshua Abramson   10/07/15      4.5       Meeting with counsel to discuss DIP/PSA objection
Joshua Abramson   10/07/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Joshua Abramson   10/07/15      1.5       Reviewed draft of DIP / PSA objection
Joshua Abramson   10/07/15      1.0       Reviewed and prepared analysis for Genereux declaration
Joshua Abramson   10/08/15      6.5       Reviewed and prepared documents for Court Hearing
Joshua Abramson   10/08/15      2.0       Reviewed and prepared documents relevant to depositions
Joshua Abramson   10/08/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Joshua Abramson   10/08/15      1.0       Call with debtor advisors regarding taxes and preparation for the same
Joshua Abramson   10/09/15      0.5       Reviewed analysis related to DIP provided by debtor advisors
Joshua Abramson   10/09/15      7.0       Prepared for and attended depositions
Joshua Abramson   10/10/15      4.0       Reviewed and prepared financial analysis related to Genereux declaration
Joshua Abramson   10/10/15      3.0       Reviewed information related to depositions
Joshua Abramson   10/11/15      1.0       Internal PJT team call




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                                                  PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
                                      SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional    Date        Hours                                                         Explanation

Joshua Abramson   10/11/15      3.0       Reviewed and prepared financial analysis related to Genereux declaration
Joshua Abramson   10/11/15      1.5       Reviewed analysis related to Critical Vendor / Retention objection
Joshua Abramson   10/12/15      1.5       Dilgenced and reviewed financial analysis provided by debtors' advisors
Joshua Abramson   10/12/15      2.0       Prepared for and attended deposition
Joshua Abramson   10/12/15      1.0       Call with counsel regarding Genereux declaration and preparation for the same
Joshua Abramson   10/12/15      5.0       Prepared and reviewed financial analysis
Joshua Abramson   10/12/15      2.0       Reviewed and prepared financial analysis related to Genereux declaration
Joshua Abramson   10/13/15      3.5       Genereux deposition preparation with counsel
Joshua Abramson   10/13/15      8.0       Hearing preparation
Joshua Abramson   10/14/15      9.0       Attended second day hearings
Joshua Abramson   10/14/15      2.0       Strategy sessions with Committee advisors
Joshua Abramson   10/14/15      1.0       Reviewed financial analysis
Joshua Abramson   10/15/15      6.0       Prepared for and attended second day hearings
Joshua Abramson   10/16/15      1.0       Call with UCC and preparation for the same
Joshua Abramson   10/16/15      1.5       Preparation for diligence trip to company headquarters
Joshua Abramson   10/17/15      3.0       Preparation for diligence trip to company headquarters
Joshua Abramson   10/18/15      2.0       Performed diligence for sale process
Joshua Abramson   10/19/15      1.0       Call with debtor advisors regarding sale process and preparation for the same
Joshua Abramson   10/19/15      0.5       Call with counsel to prepare for call with UCC
Joshua Abramson   10/19/15      1.0       Call with UCC and preparation for the same
Joshua Abramson   10/19/15      1.0       Performed diligence for sale process
Joshua Abramson   10/19/15      2.0       Reviewed and assisted with legal documents related to revised DIP / PSA orders
Joshua Abramson   10/19/15      1.0       Preparation for diligence trip to company headquarters
Joshua Abramson   10/20/15      3.0       Preparation for diligence trip to company headquarters
Joshua Abramson   10/21/15      8.0       Full day diligence meeting at Company headquarters
Joshua Abramson   10/22/15      3.0       Reviewed materials from diligence meeting and prepared follow up list
Joshua Abramson   10/22/15      1.0       Call with debtors advisors regarding DIP budget and preparation for the same
Joshua Abramson   10/22/15      2.0       Prepared and reviewed materials for UCC
Joshua Abramson   10/22/15      0.5       Call with Company management regarding critical vendors
Joshua Abramson   10/23/15      2.0       Preparation of materials for UCC
Joshua Abramson   10/23/15      1.0       Reviewed and commented on financial analysis
Joshua Abramson   10/25/15      1.0       Preparation and review of materials for UCC
Joshua Abramson   10/26/15      3.0       Preparation and review of materials for UCC




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                                                PJT PARTNERS INC.
                                        HOURLY DETAILS FOR THE PERIOD OF
                                    SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional    Date        Hours                                                        Explanation

Joshua Abramson   10/27/15       1.0    Preparation and review of materials for UCC
Joshua Abramson   10/27/15       1.0    Call with debtors' and UCC's advisors
Joshua Abramson   10/27/15       0.5    Call with counsel to prepare for call with UCC
Joshua Abramson   10/27/15       1.0    Call with UCC and preparation for the same
Joshua Abramson   10/28/15       0.5    Prepared and reviewed updated diligence list for debtors' advisors
Joshua Abramson   10/28/15       2.0    Reviewed legal documents
Joshua Abramson   10/28/15       4.0    Prepared for and attended hearing
Joshua Abramson   10/29/15       1.0    Call with Company relating to Critical Vendors
Joshua Abramson   10/30/15       2.5    Preparation and review of materials for UCC
Joshua Abramson   10/30/15       1.0    Internal PJT team call
                                160.5




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                                                   PJT PARTNERS INC.
                                           HOURLY DETAILS FOR THE PERIOD OF
                                       SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional     Date        Hours                                                          Explanation

Samuel Rappaport   09/29/15      1.0       Prep for kickoff call with UCC
Samuel Rappaport   09/29/15      1.0       Kickoff call with UCC
Samuel Rappaport   09/30/15      1.0       Call with UCC counsel and preparation for the same
Samuel Rappaport   09/30/15      2.0       Prepared initial diligence list to send to company
Samuel Rappaport   09/30/15      4.5       Strategy meeting with counsel
Samuel Rappaport   09/30/15      3.0       Review of first day motions
Samuel Rappaport   10/01/15      1.0       Reviewed store closure analysis provided by Company advisors
Samuel Rappaport   10/01/15      0.5       Call with debtor advisors regarding store closures motion and preparation for the same
Samuel Rappaport   10/01/15      1.0       Call with UCC counsel and preparation for the same
Samuel Rappaport   10/01/15      1.0       Prepared financial analysis related to DIP/PSA
Samuel Rappaport   10/02/15      1.0       Call with debtor advisors regarding sale process and preparation for the same
Samuel Rappaport   10/02/15      4.0       Prepared financial analysis related to DIP/PSA
Samuel Rappaport   10/03/15      5.0       Prepared financial analysis related to DIP/PSA
Samuel Rappaport   10/03/15      1.0       Reviewed critical vendor analysis provided by Company advisors
Samuel Rappaport   10/04/15      4.5       Prepared financial analysis related to DIP/PSA
Samuel Rappaport   10/04/15      2.0       Reviewed draft of DIP / PSA objection
Samuel Rappaport   10/05/15      1.0       Call with debtor advisors regarding DIP budget and preparation for the same
Samuel Rappaport   10/05/15      1.0       Prepared presentation for UCC
Samuel Rappaport   10/05/15      2.0       Prepared financial analysis related to DIP/PSA
Samuel Rappaport   10/06/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Samuel Rappaport   10/06/15      2.0       Prepared financial analysis related to DIP/PSA
Samuel Rappaport   10/06/15      1.0       Reviwed draft of DIP / PSA objection
Samuel Rappaport   10/07/15      3.5       Meeting with counsel to discuss DIP/PSA objection
Samuel Rappaport   10/07/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Samuel Rappaport   10/07/15      1.5       Reviewed draft of DIP / PSA objection
Samuel Rappaport   10/07/15      3.0       Prepared financial analysis related to DIP/PSA
Samuel Rappaport   10/07/15      1.5       Reviewed and prepared analysis for Genereux declaration
Samuel Rappaport   10/08/15      4.0       Reviewed and prepared analysis for Genereux declaration
Samuel Rappaport   10/08/15      2.0       Reviewed legal documents related to litigation
Samuel Rappaport   10/08/15      1.0       Call with debtor advisors regarding critical vendors and preparation for the same
Samuel Rappaport   10/08/15      1.0       Call with debtor advisors regarding taxes and preparation for the same
Samuel Rappaport   10/09/15      1.5       Dilgenced analysis related to DIP provided by debtor advisors
Samuel Rappaport   10/09/15      5.0       Reviewed and prepared financial analysis related to Genereux declaration




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                                                   PJT PARTNERS INC.
                                           HOURLY DETAILS FOR THE PERIOD OF
                                       SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional     Date        Hours                                                         Explanation

Samuel Rappaport   10/10/15      6.0       Reviewed and prepared financial analysis related to Genereux declaration
Samuel Rappaport   10/11/15      1.0       Internal PJT team call
Samuel Rappaport   10/11/15      5.0       Reviewed and prepared financial analysis related to Genereux declaration
Samuel Rappaport   10/11/15      2.0       Prepared analysis related to Critical Vendor / Retention objection
Samuel Rappaport   10/12/15      1.5       Dilgenced financial analysis provided by debtors' advisors
Samuel Rappaport   10/12/15      1.0       Call with counsel regarding Genereux declaration and preparation for the same
Samuel Rappaport   10/12/15      5.0       Prepared analysis related to Critical Vendor / Retention objection
Samuel Rappaport   10/12/15      2.0       Reviewed and prepared financial analysis related to Genereux declaration
Samuel Rappaport   10/13/15      3.5       Genereux deposition preparation with counsel
Samuel Rappaport   10/13/15      8.0       Hearing preparation
Samuel Rappaport   10/14/15      6.0       Attended second day hearings telephonically
Samuel Rappaport   10/14/15      2.0       Performed financial analysis
Samuel Rappaport   10/15/15      2.0       Performed diligence for sale process
Samuel Rappaport   10/15/15      6.0       Attended second day hearings telephonically
Samuel Rappaport   10/16/15      1.0       Call with UCC and preparation for the same
Samuel Rappaport   10/16/15      2.0       Preparation for diligence trip to company headquarters
Samuel Rappaport   10/17/15      2.0       Performed diligence for sale process
Samuel Rappaport   10/17/15      3.0       Preparation for diligence trip to company headquarters
Samuel Rappaport   10/18/15      2.0       Performed diligence for sale process
Samuel Rappaport   10/19/15      1.0       Call with debtor advisors regarding sale process and preparation for the same
Samuel Rappaport   10/19/15      0.5       Call with counsel to prepare for call with UCC
Samuel Rappaport   10/19/15      1.0       Call with UCC and preparation for the same
Samuel Rappaport   10/19/15      1.0       Performed diligence for sale process
Samuel Rappaport   10/19/15      2.0       Reviewed and assisted with legal documents related to revised DIP / PSA orders
Samuel Rappaport   10/19/15      2.0       Preparation for diligence trip to company headquarters
Samuel Rappaport   10/20/15      3.0       Preparation for diligence trip to company headquarters
Samuel Rappaport   10/21/15      8.0       Full day diligence meeting at Company headquarters
Samuel Rappaport   10/22/15      2.0       Reviewed materials from diligence meeting and prepared follow up list
Samuel Rappaport   10/22/15      1.0       Call with debtors advisors regarding DIP budget and preparation for the same
Samuel Rappaport   10/22/15      2.0       Preparation of materials for UCC
Samuel Rappaport   10/22/15      0.5       Call with Company management regarding critical vendors
Samuel Rappaport   10/22/15      2.0       Performed financial analysis
Samuel Rappaport   10/23/15      3.0       Preparation of materials for UCC




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                                                 PJT PARTNERS INC.
                                         HOURLY DETAILS FOR THE PERIOD OF
                                     SEPTEMBER 29, 2015 THROUGH OCTOBER 31, 2015
   Professional     Date        Hours                                                            Explanation

Samuel Rappaport   10/23/15       2.0    Performed financial analysis
Samuel Rappaport   10/25/15       4.0    Preparation of materials for UCC
Samuel Rappaport   10/26/15       3.5    Preparation of materials for UCC
Samuel Rappaport   10/27/15       2.0    Preparation of materials for UCC
Samuel Rappaport   10/27/15       1.0    Call with debtors' and UCC's advisors
Samuel Rappaport   10/27/15       0.5    Call with counsel to prepare for call with UCC
Samuel Rappaport   10/27/15       1.0    Call with UCC and preparation for the same
Samuel Rappaport   10/27/15       2.0    Performed financial analysis
Samuel Rappaport   10/28/15       1.0    Prepared updated diligence list for debtors' advisors
Samuel Rappaport   10/28/15       2.0    Reviewed legal documents
Samuel Rappaport   10/29/15       3.0    Performed financial analysis
Samuel Rappaport   10/30/15       3.0    Preparation of materials for UCC
Samuel Rappaport   10/30/15       1.0    Internal PJT team call
                                 182.5




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                       PJT PARTNERS INC.
             SUMMARY OF HOURS FOR THE PERIOD OF
           NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
  Professional                      Title                         Hours

Michael Genereux                    Partner                         48.5

  Jamie Baird                    Partner                            77.0

Joshua Abramson               Vice President                       142.0

Samuel Rappaport                 Analyst                           147.0
                                                Total              414.5
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                                                   PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
                                       NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional     Date        Hours                                                        Explanation

Michael Genereux   11/02/15      1.5       Call with counsel to discuss strategy plus preparation
Michael Genereux   11/02/15      1.0       Reviewed materials for UCC Call
Michael Genereux   11/03/15      1.0       Preparation for UCC Call
Michael Genereux   11/03/15      0.5       UCC Advisors Call
Michael Genereux   11/03/15      1.0       UCC Call
Michael Genereux   11/05/15      0.5       Reviewed analysis from Company related to KEIP/KERP
Michael Genereux   11/09/15      1.0       Prepared and reviewed term sheet
Michael Genereux   11/09/15      1.0       Internal PJT meeting
Michael Genereux   11/09/15      1.0       Reviewed materials for UCC Call
Michael Genereux   11/10/15      0.5       Finalized term sheet
Michael Genereux   11/10/15      1.0       Preparation for UCC call
Michael Genereux   11/10/15      0.5       UCC Advisors Call
Michael Genereux   11/10/15      1.0       UCC Call
Michael Genereux   11/12/15      1.0       Internal UCC advisors call
Michael Genereux   11/13/15      1.0       Reviewed backstop motion
Michael Genereux   11/13/15      1.0       Call with Houlihan Lokey to discuss term sheet
Michael Genereux   11/16/15      0.5       Reviewed materials for UCC Call
Michael Genereux   11/18/15      1.0       Reviewed disclosure statement, backstop agreement and plan of reorganization
Michael Genereux   11/18/15      1.0       Calls with counsel regarding disclosure statement and backstop agreement
Michael Genereux   11/19/15      0.5       Call with counsel on strategy
Michael Genereux   11/19/15      1.5       Reviewed analysis with internal team
Michael Genereux   11/23/15      1.0       Reviewed presentation for UCC Call
Michael Genereux   11/23/15      1.5       Call with counsel on strategy + preparation
Michael Genereux   11/24/15      1.0       Prepared for UCC Call
Michael Genereux   11/24/15      0.5       UCC Advisors Call
Michael Genereux   11/24/15      1.0       UCC Call and follow up
Michael Genereux   11/25/15      1.0       Reviewed Secured Lender settlement proposal and related analysis
Michael Genereux   11/29/15      1.0       Reviewed legal documents
Michael Genereux   11/30/15      1.0       Internal meeting related to various analyses
Michael Genereux   12/01/15      0.5       Preparation for committee call
Michael Genereux   12/01/15      1.5       Listened to hearing
Michael Genereux   12/02/15      0.5       Preparation for committee call
Michael Genereux   12/02/15      1.5       Committee call and follow up




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                                                PJT PARTNERS INC.
                                       HOURLY DETAILS FOR THE PERIOD OF
                                    NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional     Date        Hours                                                       Explanation

Michael Genereux   12/04/15       1.0   Reviewed updated disclosure statement and rights offering documents
Michael Genereux   12/08/15       0.5   Preparation for Committee Call
Michael Genereux   12/08/15       1.5   Call with Committee and follow up
Michael Genereux   12/09/15       1.0   Call with HL and follow up discussion
Michael Genereux   12/10/15       1.0   Call with counsel and internal follow-up
Michael Genereux   12/14/15       1.0   Call with Counsel on litigation
Michael Genereux   12/15/15       1.0   Calls with counsel and internal meetings regarding discovery and expert report schedule
Michael Genereux   12/16/15       1.0   Call with counsel on strategy and reports and follow up work
Michael Genereux   12/16/15       1.5   UCC Call, prep and follow up
Michael Genereux   12/16/15       0.5   Reviewed financial analysis
Michael Genereux   12/17/15       1.0   Calls with counsel on various matters
Michael Genereux   12/22/15       1.5   Meeting with Counsel plus preparation
Michael Genereux   12/24/15       1.0   Review PJSC Expert Report
Michael Genereux   12/27/15       2.0   Prepared and review PJT expert report
Michael Genereux   12/29/15       2.0   Prepared and review PJT expert report
                                 48.5




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                                                  PJT PARTNERS INC.
                                         HOURLY DETAILS FOR THE PERIOD OF
                                      NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional    Date        Hours                                                         Explanation

Jamie Baird       11/02/15      1.5       Call with counsel to discuss strategy plus preparation
Jamie Baird       11/02/15      0.5       Call with Oaktree Counsel to discuss transaction
Jamie Baird       11/02/15      1.0       Call with Company advisors to discuss critical vendors plus preparation
Jamie Baird       11/02/15      1.5       Prepared and Reviewed materials for UCC Call
Jamie Baird       11/03/15      0.5       Reviewed analysis related to financial projections
Jamie Baird       11/03/15      1.0       Preparation for UCC Call
Jamie Baird       11/03/15      0.5       UCC Advisors Call
Jamie Baird       11/03/15      1.0       UCC Call
Jamie Baird       11/03/15      1.0       Follow up call with Company advisors re: critical vendors
Jamie Baird       11/05/15      1.0       Reviewed analysis from Company related to KEIP/KERP
Jamie Baird       11/05/15      1.0       Calls with Company (and follow up) related to KEIP / KERP
Jamie Baird       11/06/15      0.5       Reviewed materials related to vendors
Jamie Baird       11/09/15      1.0       Internal PJT meeting
Jamie Baird       11/09/15      0.5       Reviewed materials for UCC call
Jamie Baird       11/10/15      0.5       Finalized term sheet
Jamie Baird       11/10/15      1.0       Call with Company and their advisors to discuss financial projections
Jamie Baird       11/10/15      0.5       Preparation for UCC call
Jamie Baird       11/10/15      0.5       UCC Advisors Call
Jamie Baird       11/10/15      1.0       UCC Call
Jamie Baird       11/11/15      0.5       Call with Company advisors
Jamie Baird       11/12/15      1.0       Internal UCC advisors call
Jamie Baird       11/12/15      1.0       Call with Houlihan Lokey to discuss term sheet
Jamie Baird       11/12/15      1.0       Reviewed analysis related to backstop motion
Jamie Baird       11/13/15      1.0       Reviewed analysis related to backstop motion
Jamie Baird       11/13/15      1.0       Call with Houlihan Lokey to discuss term sheet
Jamie Baird       11/17/15      1.0       Reviewed financial analysis
Jamie Baird       11/18/15      1.0       Reviewed disclosure statement and backstop agreement
Jamie Baird       11/18/15      1.0       Reviewed financial analysis related to D.S. & Backstop Agreement
Jamie Baird       11/18/15      1.0       Calls with counsel regarding disclosure statement and backstop agreement
Jamie Baird       11/18/15      1.0       Calls with debtor advisors regarding disclosure statement and backstop agreement
Jamie Baird       11/19/15      1.0       Internal meeting to discuss strategy
Jamie Baird       11/19/15      0.5       Call with counsel on strategy
Jamie Baird       11/19/15      1.5       Reviewed analysis with internal team




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                                                  PJT PARTNERS INC.
                                         HOURLY DETAILS FOR THE PERIOD OF
                                      NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional    Date        Hours                                                          Explanation

Jamie Baird       11/23/15      1.0       Prepared presentation for UCC Call
Jamie Baird       11/23/15      1.5       Call with counsel on strategy + preparation
Jamie Baird       11/23/15      0.5       Call with Company and potential bidder
Jamie Baird       11/23/15      1.5       Call with Debtor & Advisors re diligence
Jamie Baird       11/23/15      0.5       Internal discussion re diligence
Jamie Baird       11/24/15      0.5       Follow up meeting re diligence
Jamie Baird       11/24/15      1.0       Reviewed legal filings re: license rejection
Jamie Baird       11/24/15      0.5       Prepared for UCC Call
Jamie Baird       11/24/15      0.5       UCC Advisors Call
Jamie Baird       11/24/15      1.0       UCC Call and follow up
Jamie Baird       11/25/15      1.0       Reviewed Secured Lender settlement proposal and related analysis
Jamie Baird       11/29/15      2.0       Reviewed and commented on legal documents
Jamie Baird       11/30/15      1.0       Internal meeting related to various analysis
Jamie Baird       11/30/15      2.0       Meeting with counsel related to litigation
Jamie Baird       12/01/15      0.5       Preparation for committee call
Jamie Baird       12/01/15      1.5       Listened to hearing
Jamie Baird       12/02/15      0.5       Preparation for committee call
Jamie Baird       12/02/15      1.5       Committee call and follow up
Jamie Baird       12/02/15      1.0       Reviewed materials related to 503b9 claims
Jamie Baird       12/04/15      1.0       Reviewed updated disclosure statement and rights offering documents
Jamie Baird       12/08/15      0.5       Preparation for Committee Call
Jamie Baird       12/08/15      1.5       Call with Committee and follow up
Jamie Baird       12/09/15      1.0       Call with HL and follow up discussion
Jamie Baird       12/10/15      1.0       Call with counsel and internal follow-up
Jamie Baird       12/11/15      1.5       Review of internal analysis related to plan
Jamie Baird       12/14/15      1.0       Call with Counsel on litigation
Jamie Baird       12/14/15      1.5       Calls with internal and external counsel on discovery
Jamie Baird       12/14/15      1.0       Review of financial analysis
Jamie Baird       12/15/15      1.0       Calls with counsel and internal meetings regarding discovery and expert report schedule
Jamie Baird       12/16/15      1.0       Call with counsel on strategy and reports and follow up work
Jamie Baird       12/16/15      1.5       UCC Call, prep and follow up
Jamie Baird       12/16/15      0.5       Reviewed financial analysis
Jamie Baird       12/17/15      1.0       Calls with counsel on various matters




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                                               PJT PARTNERS INC.
                                      HOURLY DETAILS FOR THE PERIOD OF
                                   NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional    Date        Hours                                                  Explanation

Jamie Baird       12/22/15       3.0   Meeting with Counsel plus preparation
Jamie Baird       12/24/15       1.0   Review PJSC Expert Report
Jamie Baird       12/26/15       2.0   Prepared and review PJT expert report
Jamie Baird       12/27/15       2.0   Prepared and review PJT expert report
Jamie Baird       12/28/15       1.0   Prepared and review PJT expert report
Jamie Baird       12/29/15       2.0   Prepared and review PJT expert report
Jamie Baird       12/30/15       2.0   Prepared and review PJT expert report
                                77.0




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                                                  PJT PARTNERS INC.
                                         HOURLY DETAILS FOR THE PERIOD OF
                                      NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional    Date        Hours                                                          Explanation

Joshua Abramson   11/02/15      1.5       Call with counsel to discuss strategy plus preparation
Joshua Abramson   11/02/15      1.0       Call with Company advisors to discuss critical vendors plus preparation
Joshua Abramson   11/02/15      1.5       Prepared and Reviewed materials for UCC Call
Joshua Abramson   11/03/15      1.5       Prepared analysis related to financial projections
Joshua Abramson   11/03/15      0.5       Reviewed analysis related to financial projections
Joshua Abramson   11/03/15      1.0       Preparation for UCC Call
Joshua Abramson   11/03/15      0.5       UCC Advisors Call
Joshua Abramson   11/03/15      1.0       UCC Call
Joshua Abramson   11/03/15      1.0       Follow up call with Company advisors re: critical vendors
Joshua Abramson   11/04/15      2.0       Preparation for call with Company on financial projections
Joshua Abramson   11/04/15      3.5       Prepared analysis related to financial projections
Joshua Abramson   11/04/15      1.0       Call with Company on financial projections
Joshua Abramson   11/05/15      1.5       Reviewed analysis from Company related to KEIP/KERP
Joshua Abramson   11/05/15      1.0       Calls with Company (and follow up) related to KEIP / KERP
Joshua Abramson   11/06/15      0.5       Reviewed materials related to vendors
Joshua Abramson   11/07/15      1.0       Reviewed financial model
Joshua Abramson   11/09/15      1.0       Internal PJT meeting
Joshua Abramson   11/09/15      0.5       Prepared materials for UCC call
Joshua Abramson   11/09/15      0.5       Reviewed materials for UCC call
Joshua Abramson   11/10/15      0.5       Finalized term sheet
Joshua Abramson   11/10/15      1.0       Call with Company and their advisors to discuss financial projections
Joshua Abramson   11/10/15      1.0       Preparation for UCC call
Joshua Abramson   11/10/15      0.5       UCC Advisors Call
Joshua Abramson   11/10/15      1.0       UCC Call
Joshua Abramson   11/12/15      1.0       Internal UCC advisors call
Joshua Abramson   11/12/15      1.5       Reviewed documents related to critical vendors
Joshua Abramson   11/12/15      2.0       Prepared and reviewed analysis related to backstop motion
Joshua Abramson   11/13/15      1.0       Reviewed analysis related to backstop motion
Joshua Abramson   11/13/15      1.0       Call with Houlihan Lokey to discuss term sheet
Joshua Abramson   11/16/15      1.0       Prepared materials for UCC Call
Joshua Abramson   11/17/15      3.0       Reviewed and prepared financial analysis
Joshua Abramson   11/17/15      4.0       Reviewed disclosure statement and backstop agreement
Joshua Abramson   11/18/15      3.0       Reviewed disclosure statement and backstop agreement




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                                                  PJT PARTNERS INC.
                                         HOURLY DETAILS FOR THE PERIOD OF
                                      NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional    Date        Hours                                                         Explanation

Joshua Abramson   11/18/15      3.0       Prepared and reviewed financial analysis related to D.S. & Backstop Agreement
Joshua Abramson   11/18/15      1.0       Calls with counsel regarding disclosure statement and backstop agreement
Joshua Abramson   11/18/15      1.0       Calls with debtor advisors regarding disclosure statement and backstop agreement
Joshua Abramson   11/18/15      0.5       prepare analysis related to litigation
Joshua Abramson   11/19/15      1.0       Discussions related to critical vendor
Joshua Abramson   11/19/15      1.0       Internal meeting to discuss strategy
Joshua Abramson   11/19/15      0.5       Call with counsel on strategy
Joshua Abramson   11/19/15      1.0       Review diligence provided by Company
Joshua Abramson   11/19/15      0.5       Prepared follow-up diligence list for the Company
Joshua Abramson   11/19/15      1.5       Reviewed analysis with internal team
Joshua Abramson   11/19/15      1.0       Updated analysis related to litigation
Joshua Abramson   11/20/15      1.5       Review materials provided by counsel
Joshua Abramson   11/21/15      0.5       Reviewed and responded to emails
Joshua Abramson   11/22/15      0.5       Reviewed and responded to emails
Joshua Abramson   11/23/15      1.0       Prepared presentation for UCC Call
Joshua Abramson   11/23/15      1.5       Call with counsel on strategy + preparation
Joshua Abramson   11/23/15      0.5       Call with Company and potential bidder
Joshua Abramson   11/23/15      1.5       Call with Debtor & Advisors re diligence
Joshua Abramson   11/23/15      0.5       Internal discussion re diligence
Joshua Abramson   11/24/15      0.5       Follow up meeting re diligence
Joshua Abramson   11/24/15      1.0       Reviewed legal filings re: license rejection
Joshua Abramson   11/24/15      0.5       Prepared for UCC Call
Joshua Abramson   11/24/15      0.5       UCC Advisors Call
Joshua Abramson   11/24/15      1.0       UCC Call and follow up
Joshua Abramson   11/25/15      2.0       Reviewed Secured Lender settlement proposal and prepared related analysis
Joshua Abramson   11/27/15      1.5       Reviewed and commented on legal documents
Joshua Abramson   11/29/15      1.0       Reviewed and commented on legal documents
Joshua Abramson   11/30/15      1.0       Internal meeting related to various analysis
Joshua Abramson   11/30/15      1.5       Meeting with counsel related to litigation
Joshua Abramson   11/30/15      1.0       Prepared follow up analysis relating to meeting
Joshua Abramson   12/01/15      0.5       Preparation for committee call
Joshua Abramson   12/01/15      1.5       Listened to hearing
Joshua Abramson   12/02/15      0.5       Preparation for committee call




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                                                PJT PARTNERS INC.
                                       HOURLY DETAILS FOR THE PERIOD OF
                                    NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional    Date        Hours                                                      Explanation

Joshua Abramson   12/02/15       1.5    Committee call and follow up
Joshua Abramson   12/02/15       1.0    Reviewed materials related to 503b9 claims
Joshua Abramson   12/03/15       0.5    Call with FTI
Joshua Abramson   12/03/15       1.0    Reviewed materials related to equipment leases
Joshua Abramson   12/03/15       0.5    Reviewed materials related to 503b9 claims
Joshua Abramson   12/04/15       1.5    Reviewed updated disclosure statement and rights offering documents
Joshua Abramson   12/06/15       1.0    Reviewed and responded to emails. Prepared materials responsive to request from counsel.
Joshua Abramson   12/07/15       1.0    Call with Counsel on deal strategy
Joshua Abramson   12/08/15       1.0    Preparation for Committee Call
Joshua Abramson   12/08/15       1.5    Call with Committee and follow up
Joshua Abramson   12/10/15       1.5    Call with counsel and internal follow-up
Joshua Abramson   12/11/15       2.5    Internal analysis related to plan
Joshua Abramson   12/14/15       1.0    Call with Counsel on litigation
Joshua Abramson   12/14/15       1.5    Calls with internal and external counsel on discovery
Joshua Abramson   12/14/15       1.0    Review of financial analysis
Joshua Abramson   12/15/15       1.0    Calls with counsel and internal meetings regarding discovery and expert report schedule
Joshua Abramson   12/15/15       1.0    Work related to discovery requests
Joshua Abramson   12/16/15       1.0    Call with counsel on strategy and reports and follow up work
Joshua Abramson   12/16/15       0.5    Work related to discovery requests
Joshua Abramson   12/16/15       1.5    Prepared and reviewed financial analysis
Joshua Abramson   12/17/15       1.0    Calls with counsel on various matters
Joshua Abramson   12/17/15       1.5    Internal work relating to discovery requests
Joshua Abramson   12/22/15       3.0    Meeting with Counsel plus preparation
Joshua Abramson   12/24/15       3.0    Review PJSC Expert Report
Joshua Abramson   12/25/15       8.0    Review PJSC expert report and prepare PJT expert report
Joshua Abramson   12/26/15       4.0    Prepare and review analysis related to PJT expert report
Joshua Abramson   12/27/15       5.0    Prepare and review analysis related to PJT expert report
Joshua Abramson   12/28/15       6.0    Prepare and review analysis related to PJT expert report
Joshua Abramson   12/29/15       6.5    Prepare and review analysis related to PJT expert report
Joshua Abramson   12/30/15       4.0    Prepare and review analysis related to PJT expert report
                                142.0




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                                                   PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
                                       NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional     Date        Hours                                                          Explanation

Samuel Rappaport   11/02/15      1.5       Call with counsel to discuss strategy plus preparation
Samuel Rappaport   11/02/15      1.0       Call with Company advisors to discuss critical vendors plus preparation
Samuel Rappaport   11/02/15      3.0       Prepared materials for UCC Call
Samuel Rappaport   11/03/15      3.0       Prepared analysis related to financial projections
Samuel Rappaport   11/03/15      1.0       Preparation for UCC Call
Samuel Rappaport   11/03/15      0.5       UCC Advisors Call
Samuel Rappaport   11/03/15      1.0       UCC Call
Samuel Rappaport   11/03/15      1.0       Follow up call with Company advisors re: critical vendors
Samuel Rappaport   11/04/15      1.0       Preparation for call with Company on financial projections
Samuel Rappaport   11/04/15      1.0       Call with Company on financial projections
Samuel Rappaport   11/04/15      2.0       Performed follow up analysis relating to financial projections
Samuel Rappaport   11/05/15      1.0       Reviewed analysis from Company related to KEIP/KERP
Samuel Rappaport   11/09/15      3.0       Performed analysis for preparation of term sheet
Samuel Rappaport   11/09/15      1.0       Internal PJT meeting
Samuel Rappaport   11/09/15      2.0       Prepared materials for UCC call
Samuel Rappaport   11/10/15      1.0       Finalized term sheet
Samuel Rappaport   11/10/15      1.0       Call with Company and their advisors to discuss financial projections
Samuel Rappaport   11/10/15      1.0       Preparation for UCC call
Samuel Rappaport   11/10/15      0.5       UCC Advisors Call
Samuel Rappaport   11/10/15      1.0       UCC Call
Samuel Rappaport   11/10/15      2.0       Performed analysis related to financial projections
Samuel Rappaport   11/12/15      1.0       Internal UCC advisors call
Samuel Rappaport   11/12/15      0.5       Reviewed documents related to critical vendors
Samuel Rappaport   11/12/15      4.0       Performed analysis related to backstop motion
Samuel Rappaport   11/13/15      3.0       Performed analysis related to backstop motion
Samuel Rappaport   11/13/15      1.0       Call with Houlihan Lokey to discuss term sheet
Samuel Rappaport   11/16/15      2.0       Prepared materials for UCC Call
Samuel Rappaport   11/17/15      2.0       Reviewed Company model and prepared diligence list
Samuel Rappaport   11/17/15      3.0       Prepared financial analysis
Samuel Rappaport   11/17/15      3.0       Reviewed disclosure statement, backstop agreement and plan of reorganization
Samuel Rappaport   11/18/15      1.0       Reviewed disclosure statement, backstop agreement and plan of reorganization
Samuel Rappaport   11/18/15      2.0       Prepared financial analysis related to disclosure statement and backstop agreement
Samuel Rappaport   11/18/15      1.0       Calls with counsel regarding disclosure statement and backstop agreement




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                                                   PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
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   Professional     Date        Hours                                                         Explanation

Samuel Rappaport   11/18/15      1.0       Calls with debtor advisors regarding disclosure statement and backstop agreement
Samuel Rappaport   11/19/15      1.0       Reviewed Company model and prepared diligence list
Samuel Rappaport   11/19/15      0.5       Call with counsel on strategy
Samuel Rappaport   11/19/15      3.0       Review diligence provided by Company
Samuel Rappaport   11/19/15      1.5       Prepared follow-up diligence list for the Company
Samuel Rappaport   11/19/15      1.5       Reviewed analysis with internal team
Samuel Rappaport   11/20/15      1.5       Review materials provided by counsel
Samuel Rappaport   11/22/15      1.5       Reviewed diligence materials provided by Company
Samuel Rappaport   11/23/15      2.0       Prepared presentation for UCC Call
Samuel Rappaport   11/23/15      1.5       Call with counsel on strategy + preparation
Samuel Rappaport   11/23/15      1.5       Call with Company and their advisors to discuss diligence items
Samuel Rappaport   11/24/15      0.5       Follow up meeting re: diligence
Samuel Rappaport   11/24/15      0.5       Reviewed legal filings re: license rejection
Samuel Rappaport   11/24/15      1.0       Prepared for UCC Call
Samuel Rappaport   11/24/15      0.5       UCC Advisors Call
Samuel Rappaport   11/24/15      1.0       UCC Call and follow up
Samuel Rappaport   11/25/15      3.0       Reviewed Secured Lender settlement proposal and prepared related analysis
Samuel Rappaport   11/29/15      2.0       Reviewed and commented on legal documents
Samuel Rappaport   11/30/15      1.0       Internal meeting related to various analysis
Samuel Rappaport   11/30/15      1.5       Meeting with counsel related to litigation
Samuel Rappaport   11/30/15      2.0       Prepared follow up analysis relating to meeting
Samuel Rappaport   12/01/15      0.5       Preparation for committee call
Samuel Rappaport   12/01/15      1.5       Listened to hearing
Samuel Rappaport   12/02/15      0.5       Preparation for committee call
Samuel Rappaport   12/02/15      1.0       Committee call and follow up
Samuel Rappaport   12/02/15      0.5       Reviewed materials related to 503b9 claims
Samuel Rappaport   12/03/15      0.5       Reviewed materials related to 503b9 claims
Samuel Rappaport   12/04/15      2.0       Reviewed updated disclosure statement and rights offering documents
Samuel Rappaport   12/07/15      1.0       Call with Counsel on deal strategy
Samuel Rappaport   12/08/15      0.5       Preparation for Committee Call
Samuel Rappaport   12/08/15      1.5       Call with Committee and follow up
Samuel Rappaport   12/10/15      1.5       Call with counsel and internal follow-up
Samuel Rappaport   12/11/15      3.0       Internal analysis related to plan




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                                                 PJT PARTNERS INC.
                                        HOURLY DETAILS FOR THE PERIOD OF
                                     NOVEMBER 1, 2015 THROUGH DECEMBER 31, 2015
   Professional     Date        Hours                                                        Explanation

Samuel Rappaport   12/14/15       1.0    Call with Counsel on litigation
Samuel Rappaport   12/14/15       1.5    Calls with internal and external counsel on discovery
Samuel Rappaport   12/14/15       2.0    Performed financial analysis
Samuel Rappaport   12/15/15       1.0    Calls with counsel and internal meetings regarding discovery and expert report schedule
Samuel Rappaport   12/15/15       1.5    Work related to discovery requests
Samuel Rappaport   12/16/15       2.0    Call with counsel on strategy and reports and follow up work
Samuel Rappaport   12/16/15       3.0    Prepared and reviewed financial analysis
Samuel Rappaport   12/17/15       1.0    Calls with counsel on various matters
Samuel Rappaport   12/17/15       1.5    Internal work relating to discovery requests
Samuel Rappaport   12/22/15       4.0    Meeting with Counsel plus preparation
Samuel Rappaport   12/24/15       6.0    Review PJSC Expert Report
Samuel Rappaport   12/25/15       2.0    Review PJSC expert report and prepare PJT expert report
Samuel Rappaport   12/26/15       5.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   12/27/15       5.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   12/28/15       5.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   12/29/15       4.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   12/30/15       5.0    Prepare and review analysis related to PJT expert report
                                 147.0




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                             PJT PARTNERS INC.
                   HOURLY DETAILS FOR THE PERIOD OF
                 JANUARY 1, 2016 THROUGH JANUARY 29, 2016

  Professional                          Title                       Hours

Michael Genereux                        Partner                       48.0

  Jamie Baird                         Partner                         74.0

Joshua Abramson                    Vice President                    106.5

Samuel Rappaport                      Analyst                        135.0
                                                    Total            363.5




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                                                    PJT PARTNERS INC.
                                          HOURLY DETAILS FOR THE PERIOD OF
                                        JANUARY 1, 2016 THROUGH JANUARY 29, 2016

   Professional     Date        Hours                                                       Explanation

Michael Genereux   01/03/16     3.0      Prepare and review analysis related to PJT expert report
Michael Genereux   01/04/16     1.0      Prepare and review analysis related to PJT expert report
Michael Genereux   01/05/16     3.0      Prepare and review analysis related to PJT expert report
Michael Genereux   01/06/16     2.0      Prepare and review analysis related to PJT expert report
Michael Genereux   01/08/16     3.0      Meeting with counsel and internal team related to PJT expert report
Michael Genereux   01/09/16     1.0      Prepare and review analysis related to PJT expert report
Michael Genereux   01/10/16     3.0      Prepare and review analysis related to PJT expert report
Michael Genereux   01/11/16     2.0      Prepare and review analysis related to PJT expert report
Michael Genereux   01/12/16     0.5      UCC Advisors Call
Michael Genereux   01/13/16     1.0      UCC Call and follow up
Michael Genereux   01/14/16     2.0      Mediation preparation
Michael Genereux   01/15/16     2.0      Calls and analysis related to Mediation preparation
Michael Genereux   01/18/16     10.0     Mediation
Michael Genereux   01/19/16     1.0      Calls with counsel and committee related to settlement discussions
Michael Genereux   01/19/16     1.0      Calls with counsel and committee related to settlement discussions
Michael Genereux   01/20/16     1.0      Reviewed PJSC Rebuttal Report
Michael Genereux   01/20/16     1.0      Calls with counsel and committee related to settlement discussions
Michael Genereux   01/22/16     1.0      Reviewed Houlihan Rebuttal Report
Michael Genereux   01/26/16     1.5      Calls with counsel and committee related to settlement discussions
Michael Genereux   01/27/16     2.0      Calls and analysis related to settlement discussions
Michael Genereux   01/27/16     1.0      Calls with secured lender advisors related to settlement
Michael Genereux   01/27/16     3.0      Calls with counsel and committee related to settlement discussions
Michael Genereux   01/28/16     2.0      Analysis related to settlement and review of plan documents
                                48.0




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                                                   PJT PARTNERS INC.
                                         HOURLY DETAILS FOR THE PERIOD OF
                                       JANUARY 1, 2016 THROUGH JANUARY 29, 2016

   Professional    Date        Hours                                                       Explanation

Jamie Baird       01/02/16     2.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/04/16     2.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/05/16     3.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/06/16     2.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/07/16     2.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/08/16     6.0      Meeting with counsel and internal team related to PJT expert report
Jamie Baird       01/08/16     3.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/09/16     3.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/10/16     3.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/11/16     3.0      Prepare and review analysis related to PJT expert report
Jamie Baird       01/12/16     0.5      UCC Advisors Call
Jamie Baird       01/12/16     1.0      UCC Call and follow up
Jamie Baird       01/12/16     2.0      Assist counsel in legal briefs and mediation preparation
Jamie Baird       01/13/16     3.0      Mediation preparation
Jamie Baird       01/14/16     4.0      Calls and analysis related to Mediation preparation
Jamie Baird       01/15/16     10.0     Mediation
Jamie Baird       01/17/16     1.0      Call with Oaktree related to settlement discussions
Jamie Baird       01/18/16     1.0      Calls with counsel and committee related to settlement discussions
Jamie Baird       01/19/16     1.0      Calls with counsel and committee related to settlement discussions
Jamie Baird       01/19/16     1.5      Reviewed PJSC Rebuttal Report
Jamie Baird       01/19/16     1.0      Preparation with counsel for depositions
Jamie Baird       01/20/16     1.0      Calls with counsel and committee related to settlement discussions
Jamie Baird       01/20/16     1.5      Reviewed Houlihan Rebuttal Report
Jamie Baird       01/22/16     1.5      Calls with counsel and committee related to settlement discussions
Jamie Baird       01/22/16     2.0      Attended HL deposition, related meetings, settlement discussions
Jamie Baird       01/23/16     1.0      Discussions related to settlement details
Jamie Baird       01/24/16     1.0      Discussions related to settlement details
Jamie Baird       01/26/16     2.0      Calls and analysis related to settlement discussions
Jamie Baird       01/27/16     1.0      Calls with secured lender advisors related to settlement
Jamie Baird       01/27/16     3.0      Calls with counsel and committee related to settlement discussions
Jamie Baird       01/28/16     2.0      Analysis related to settlement and review of plan documents
Jamie Baird       01/28/16     2.0      Listened to Confirmation Hearing
Jamie Baird       01/29/16     1.0      Responded to UCC questions on plan
                               74.0




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   Professional    Date        Hours                                                       Explanation

Josh Abramson     01/02/16      9.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/03/16      4.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/04/16      11.0    Prepare and review analysis related to PJT expert report
Josh Abramson     01/05/16      12.0    Prepare and review analysis related to PJT expert report
Josh Abramson     01/06/16      8.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/07/16      4.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/07/16      3.0     Review discovery documents with Counsel
Josh Abramson     01/08/16      5.0     Meeting with counsel and internal team related to PJT expert report
Josh Abramson     01/08/16      3.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/09/16      3.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/10/16      3.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/11/16      3.0     Prepare and review analysis related to PJT expert report
Josh Abramson     01/12/16      0.5     UCC Advisors Call
Josh Abramson     01/12/16      1.0     UCC Call and follow up
Josh Abramson     01/12/16      3.0     Assist counsel in legal briefs and mediation preparation
Josh Abramson     01/13/16      3.0     Mediation preparation
Josh Abramson     01/14/16      8.0     Calls and analysis related to Mediation preparation
Josh Abramson     01/15/16      10.0    Mediation
Josh Abramson     01/18/16      1.0     Calls with counsel and committee related to settlement discussions
Josh Abramson     01/26/16      2.0     Calls and analysis related to settlement discussions
Josh Abramson     01/27/16      1.0     Calls with secured lender advisors related to settlement
Josh Abramson     01/27/16      3.0     Calls with counsel and committee related to settlement discussions
Josh Abramson     01/27/16      1.0     Analysis related to settlement discussions
Josh Abramson     01/28/16      2.0     Analysis related to settlement and review of plan documents
Josh Abramson     01/28/16      2.0     Listened to Confirmation Hearing
Josh Abramson     01/29/16      1.0     Responded to UCC questions on plan
                               106.5




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   Professional     Date        Hours                                                       Explanation

Samuel Rappaport   01/02/16      10.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/03/16      10.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/04/16      10.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/05/16      12.0    Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/06/16      9.0     Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/07/16      6.0     Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/07/16      3.0     Review discovery documents with Counsel
Samuel Rappaport   01/08/16      6.0     Meeting with counsel and internal team related to PJT expert report
Samuel Rappaport   01/08/16      3.0     Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/09/16      4.0     Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/10/16      4.0     Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/11/16      6.0     Prepare and review analysis related to PJT expert report
Samuel Rappaport   01/12/16      0.5     UCC Advisors Call
Samuel Rappaport   01/12/16      1.0     UCC Call and follow up
Samuel Rappaport   01/12/16      3.0     Assist counsel in legal briefs and mediation preparation
Samuel Rappaport   01/13/16      3.0     Mediation preparation
Samuel Rappaport   01/14/16      8.0     Calls and analysis related to Mediation preparation
Samuel Rappaport   01/15/16      10.0    Mediation
Samuel Rappaport   01/18/16      1.0     Calls with counsel and committee related to settlement discussions
Samuel Rappaport   01/19/16      1.0     Calls with counsel and committee related to settlement discussions
Samuel Rappaport   01/19/16      3.0     Reviewed PJSC Rebuttal Report
Samuel Rappaport   01/19/16      2.0     Preparation with counsel for depositions
Samuel Rappaport   01/20/16      1.0     Calls with counsel and committee related to settlement discussions
Samuel Rappaport   01/20/16      2.0     Reviewed Houlihan Rebuttal Report
Samuel Rappaport   01/20/16      8.0     Attended depositions
Samuel Rappaport   01/22/16      1.5     Calls with counsel and committee related to settlement discussions
Samuel Rappaport   01/25/16      1.0     Calls with counsel and committee related to settlement discussions
Samuel Rappaport   01/26/16      1.0     Calls and analysis related to settlement discussions
Samuel Rappaport   01/27/16      1.0     Calls with counsel and committee related to settlement discussions
Samuel Rappaport   01/27/16      1.0     Analysis related to settlement discussions
Samuel Rappaport   01/28/16      2.0     Listened to Confirmation Hearing
Samuel Rappaport   01/29/16      1.0     Responded to UCC questions on plan
                                135.0




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